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                 EXHIBIT B-164
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                 IN THE SUPERIOR COURT OF FULTON COUNTY

                                       STATE OF GEORGIA

                                                                 Case No. 2022-EX-000024
           IN RE: SPECIAL PURPOSE GRAND
       JURY                                                       Judge Robert C.I. McBurney




              VERIFIED APPLICATIONFOR PRO HAC VICE ADMISSION
           Pursuantto GeorgiaUnifonnSuperiorCourt Rule 4.4, r,MatthewDisler(Applicant),hereby

applyto this Honorable Courtfor admissionto practicein the above-styledcasepro hac vice. In

supportof this application,Applicantstates as follows:


   l. '.     I




  2.         My businessaddressis:
             Paul, Weiss, Rifkind,Wharton& GarrisonLLP
             2001 KSt, NW
             Washington,DC 20006-1047
             USA
             Phone:202-273-7471
             mdislcr@paulwciss.com
  3.         I have been retainedto represent the following client(s):

             DonaldAyer, John Farmer,StuartGerson,TanyaMiller1 J. Tom Morgan,Sarah Saldana,
             William F. Weld,and Shan Wu
             c/o Brian Kammer
             241 E Lake Dr Decatur, OA 30030
             678-235-4964

  4.         I am a memberin good standingof the followingjurisdictions:

             Jurisdiction:New YorkJ3rd Department
             Date Admitted:01/24/2022
             Still Admitted: Yes
             Bar/Registration No.: 5912993
      Case 1:23-cv-03721-SCJ Document 1-176 Filed 08/21/23 Page 3 of 5


       Jurisdiction: District of Columbia Court of Appeals
       Date Admitted: 06/13/2022
       Still Admitted: Yes
       Bar/Registration No.: 90002962



5.     I have never been a member of the State Bar of Georgia.

6.     I have never been denied pro hac vice admission in Georgia.

7.     I have never had pro hac vice admission revoked in Georgia.

8.     I have never been sanctioned or formally disciplined by a court in Georgia.

9.     I have never been the subject of any formal disciplinary proceedings.

10.    I have never been formally held in contempt, or otherwise sanctioned by a court in a
       written order, for disobedience to its rules or orders.

11.    In the past two years I have not filed for pro hac vice admission in Georgia.

12.    I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all
       court rules relevant to practice before the court in which I am seeking admission.

13.    My local sponsor is:

       Brian S. Kammer
       Bar No. 406322
       241 E Lake Dr Decatur, GA 30030
       678-235-4964

14.    When I file my application I will forward a copy to the State Bar of Georgia along with a
       check or money order made payable to the State Bar of Georgia in the amount of $275, as
       this is my first application filed for this calendar year.
         Case 1:23-cv-03721-SCJ Document 1-176 Filed 08/21/23 Page 4 of 5


      I, Matthew Disler, applicant in the foregoing Verified Application for Pro Hae Vice
Admission, hereby verify the facts contained therein are true and accurate to the best of my
knowledge.


                                  1Jt-;z;r;;~ •
                                      -1
                              This /f,fay of May, 2023



                                                                 2-0~2-3--~----
        Applicant Sworn to before me this \~..,..\r--d_a.,..y~o~f~M-a_y_,




                                               '0ru,rn*~
                                                 NotaryPubh
                                                 My commission expires


                                                          OAWl'JJ. t'ORRESTER
                                                      NOTARY
                                                          PUBUC  DISIBICT OFCOLUMBIA
                                                       MyCommission
                                                                  Expires
                                                                       l'.ugust
                                                                             14,2024
     Case 1:23-cv-03721-SCJ Document 1-176 Filed 08/21/23 Page 5 of 5




            IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA


  INRE:                                                 Case No. 2022-EX-000024
  SPECIAL PURPOSE GRAND JURY


                         CERTIFICATE OF SERVICE

      This is to certify that I have caused a true and correct copy of the foregoing

document to be served via electronic mail to the following counsel of the parties:


      Jennifer L. Little                     Kieran J. Shanahan
      Jennifer Little Law, LLC               Shanahan Law Group, PLLC
      Jlittle@jllaw.com                      kieran@shanahanlawgroup.com

      Drew Findling                          Fani T. Willis
      Marissa Goldberg                       Will Wooten
      Findling Law Firm                      Office of the District Attorney
      drew@findlinglawfirm.com               Fani.willisda@fultoncountyga.gov
      marissa@findlinglawfirm.com            Will. wooten@fultoncountyga.gov



      This 22nd day of May 2023.


                                                                      Brian Kammer
                                                                Ga. Bar No. 406322
                                                                      241 E Lake Dr
                                                                Decatur, GA 30030
                                                                Tel: (678) 235-4964
                                                          attybkammer@gmail.com
